                      IN THE DISTRICT COURT OF THE UNITED STATES
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

Brandon Bartlett,                         )                     Civil Action No. 2:17-03031-RMG-MGB
                                          )
                        Plaintiff,        )
                                          )
         v.                               )
                                          )                     ORDER
South Carolina Department of Corrections, )
et. al.;                                  )
                                          )
                        Defendants.       )
____________________________________)

         This action has filed by Plaintiff pursuant to 42 U.S.C. § 1983 and the South Carolina Tort

Claims Act (“SCTCA”), S.C. Code Ann. §§ 15-78-10 et seq. 1 (Dkt. No. 1-1.) On February 5, 2020,

the undersigned issued a Report and Recommendation recommending granting in part and denying

in part Defendants’ Motion for Summary Judgment. (Dkt. No. 135.) That same day, the

undersigned issued the following Text Order:

         The Court finds that the Roth Report should be filed on the docket because Plaintiff
         relies upon it in opposing summary judgment. To the extent Defendants oppose
         such a filing, they must file a brief with supporting argument by February 14, 2020.
         In this brief, Defendants should specify whether they believe the Report should be
         sealed entirely or filed with certain portions redacted. If they believe redaction is
         appropriate, they must specify which portions they seek to redact. Any responsive
         brief by Plaintiff must be filed by February 20, 2020.

(Dkt. No. 136.)




1
 This is one of the many actions currently before the undersigned that have been filed by Plaintiff’s counsel concerning
inmate violence and understaffing at SCDC. See, e.g. Battle v. SCDC et al., 2:18-cv-719-TMC-MGB; Dexter
Crawford v. SCDC, et al., 6:18-cv-2407; Craig Ellerbe v. SCDC, et al., 6:19-cv-96; Jamarcus Murray v. SCDC, et
al., 6:19-cv-100. On August 13, 2019, the undersigned held a Global Status Conference, in which counsel in all the
cases within this category appeared. (Dkt. No. 90.)

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        The parties have filed their respective briefs (Dkt. Nos. 139; 140) in response to this Text

Order. For the reasons stated below, the Court finds the Roth Report must be filed, unredacted, in

this case. 2

                                                INTRODUCTION

        The relevance and discoverability of the Roth Report (“Roth Report” or “Report”) has been

discussed at length both by the parties and the Court throughout this action. (Dkt. Nos. 67; 79;

104; 109; 110; 114; 115; 117; 133.) As discussed extensively in past Orders, the Roth Report was

drafted by Tom Roth in March 2018 in connection with a confidential settlement of another case

against SCDC (the “Mental Health Settlement”). The Roth Report focuses on staffing levels at

SCDC and analyzes the impact of staffing levels on incidents of contraband and assaults at certain

SCDC institutions. In past Orders, the Court has expressly found the Roth Report relevant and

discoverable and has expressly rejected most of the substantive arguments put forth by Defendants

in their instant brief.

        Specifically, in their brief, Defendants “seek protection for the Tom Roth report pursuant

to Fed. R. Civ. P. Rule 26(b)(1), FRE 501, SC ADR Rule 8(a)(2) and SC ADR Rule 8(a)(5).” (Id.

at 12.) Defendants also assert that the Report is protected under the work product doctrine. (Id.) In

an Order issued July 10, 2019, the District Court expressly found that “[t]he Fourth Circuit has not

imposed a settlement privilege with respect to discovery” and that “the work-product privilege

does not apply to the Roth Report.” (Dkt. No. 79 at 4.) Further, on September 25, 2019, the

undersigned issued an Order explaining in detail why each of the above authorities cited by

Defendant does not warrant protection of documents pertaining to the Roth Report—the Court will




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 Pursuant to the provisions of Title 28, United States Code, Section 636(b)(1)(B) and Local Rule 73.02(B)(2)(d),
D.S.C., this matter has been assigned to the undersigned for all pretrial proceedings.

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not repeat this analysis here and instead incorporates in its entirety the reasoning put forth in the

September 25, 2019 Order. 3

        With these past rulings, the question squarely before the Court at this time is whether it is

appropriate to seal the Roth Report—its relevance and discoverability has already been decided in

Plaintiff’s favor by the Court. Here, Defendants assert that “less drastic alternatives to sealing the

Roth report, such as redaction, do not afford adequate protection of the mediation/work product

document.” (Dkt. No. 139 at 8.) Plaintiff argues that “Defendants have failed to make a persuasive

argument as of why the Roth Report cannot be filed in support of Plaintiff’s claims and any

protections afforded by not filing this document have been negated as the Court has already

determined that no privilege or confidentiality exists.” (Dkt. No. 140 at 7–8.)

                                                     DISCUSSION

        Local Civil Rule 5.03 provides that a party seeking to file documents under seal shall “file

and serve a ‘Motion to Seal’ accompanied by a memorandum” that must:

        (1) identify, with specificity, the documents or portions thereof for which sealing
        is requested; (2) state the reasons why sealing is necessary; (3) explain (for each
        document or group of documents) why less drastic alternatives to sealing will not
        afford adequate protection; and (4) address the factors governing sealing of
        documents reflected in controlling case law.

Local Civil Rule 5.03, D.S.C.

        The public’s common law right to inspect judicial records and documents is not absolute

and the district court “may, in its discretion, seal documents if the public’s right of access is

outweighed by competing interests.” Nixon v. Warner Communications, Inc., 435 U.S. 589, 597




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 For example, in this Order, the Court expressly addressed why Local Civil Rule 16.08, Fed. R. Civ. P. Rule 26(b)(1),
FRE 501, and South Carolina Alternative Dispute Resolution Rule 8 did not warrant protection of certain
communications between Tom Roth and SCDC and the underlying documents Roth reviewed in making his Report.
The undersigned also found that the United States Supreme Court case, Jaffee v. Redmond, 518 U.S. 1 (1996), did not
compel “recognizing a settlement privilege in this instance.” (Dkt. No. 117 at 7.)

                                                         3
(1978). In deciding whether to exercise such discretion, the court may consider “whether the

records are sought for improper purposes, such as promoting public scandals or unfairly gaining a

business advantage; whether release would enhance the public’s understanding of an important

historical event; and whether the public has already had access to the information contained in the

records.” In re Knight Pub. Co., 743 F.2d 231, 235 (4th Cir. 1984).

       The Fourth Circuit Court of Appeals has set forth the following standard and procedure

that must be followed before a district court can seal documents:

       In Knight, we explained that, while a district court “has supervisory power over its
       own records and may, in its discretion, seal documents if the public’s right of access
       is outweighed by competing interests,” the “presumption” in such cases favors
       public access. Knight, 743 F.2d at 235; see also [Stone v. Univ. of Maryland Med.
       Sys. Corp., 855 F.2d 178, 182 (4th Cir. 1988)] (“The public’s right of access to
       judicial records and documents may be abrogated only in unusual circumstances”).
       Accordingly, before a district court may seal any court documents, we held that it
       must (1) provide public notice of the request to seal and allow interested parties a
       reasonable opportunity to object, (2) consider less drastic alternatives to sealing the
       documents, and (3) provide specific reasons and factual findings supporting its
       decision to seal the documents and for rejecting the alternatives. See Knight, 743
       F.2d at 235–36; see also Stone, 855 F.2d at 181. These procedures “must be
       followed when a district court seals judicial records or documents.” Stone, 855 F.2d
       at 179–80, 182.

Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000).

       Here, Defendants argue that “[r]estriction of information otherwise publicly available is

warranted” here because “[p]rotecting this information would ensure that the process of SCDC

improving its facilities according to its responsibilities under the Mental Health Settlement could

continue unimpeded.” (Dkt. No. 139 at 9–10.) More specifically, Defendants assert that

“[r]equiring Defendants to produce information compiled in SCDC’s efforts to comply with the

Mental Health Settlement would hamper the process and the ability of SCDC to participate in

truthful, meaningful, and critical evaluation of the strengths and weaknesses of its facilities in an

effort to make improvements to facilitate greater safety in those same facilities. (Id. at 10.)

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Defendants further contend that “production would hinder the ability of parties to participate in

such settlements in the future.” (Id. at 11.)

       In support of these arguments, Defendants cite three cases which are inapplicable to the

instant matter. (Dkt. No. 139 at 9–11.) Defendants first cite Pierce Cty., Wash. v. Guillen, 537 U.S.

129, 144 (2003), in which the United States Supreme Court held that a federal statute protecting

certain documents from discovery and admission into evidence created an evidentiary privilege.

In Guillen, the Court interpreted the scope of a specific federal statute and found certain

information should be protected from discovery in light of the statute. Guillen, 537 U.S. at 146–

48. Guillen is inapplicable here where there is no federal statute protecting the information at issue

and where the information has already been found discoverable. Defendants also cite Dep’t of

Interior v. Klamath Water Users Protective Ass’n, 532 U.S. 1, 7 (2001), in which the United States

Supreme Court considered the applicability of a certain exemption to the Freedom of Information

Act (“FOIA”) to the “disclosure of records held by a federal agency.” The Court found that

invoking this exemption to claim privilege in discovery “rests on the obvious realization that

officials will not communicate candidly among themselves if each remark is a potential item of

discovery and front page news.” Klamath, 532 U.S. at 8–9. Klamath is inapplicable here where

Defendant is not a federal agency and the particular FOIA exemption is not at issue.

       Finally, Defendants cite In re for Wilson, No 8:12–CV–02078–JMC, 2017 WL 2536913 at

*1 (D.S.C. June 12, 2017), in which the court declined to vacate a prior protective order as

requested by “an interested party” to the action. In so ruling, the court emphasized that the

documents at issue in the protective order “were not created or submitted to the court for the

purpose of disclosing discoverable information to any party, and . . . it is not clear what, if any,

relevance the documents have for [the interested party’s] defense” in a related action. Wilson, 2017



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WL 2536913 at *3. Here, the Roth Report has been produced in discovery and has been found

relevant to this action. Wilson is therefore inapplicable.

       While the Court recognizes Defendants’ concerns about the need for privacy in settlement

proceedings, the Court has already held that the Roth Report is only tangentially related to the

Mental Health Settlement. (Dkt. No. 67 at 2.) Likewise, the Court has found that the Roth Report

“is not covered by the confidentiality provisions of the Mental Health Settlement.” (Id.) Given

these findings, the Roth Report’s limited connection to the Mental Health Settlement does not

compel sealing the Report. Further, as the District Court noted, “a lightly redacted version of the

[Roth Report] has previously been disclosed via a FOIA request and reported on by the Post and

Courier.” (Dkt. No. 79 at 5–6.) Thus, it appears that significant portions of the Roth Report are

already available to the public. Also, while the Court has previously stated that the Roth Report is

subject to attorneys’ eyes only, that finding was in the limited context of the discoverability of the

Roth Report. Such Orders were not intended to limit what can be included in the record. Finally,

the Roth Report details security concerns at SCDC, and there is great public interest in the safety

of taxpayer funded government institutions.

       Based on the foregoing, Defendants have not provided any compelling reasons, in

accordance with Local Rule 5.03 D.S.C., that would support the drastic measure of sealing the

Roth Report. The Court therefore orders Plaintiff to file the unredacted version of the Roth Report

on the docket by February 28, 2020.

                                          CONCLUSION

       For the foregoing reasons, the Court finds no basis to seal the Roth Report. Plaintiff is

ORDERED to file the unredacted version of the Roth Report on the docket by February 28, 2020.

       IT IS SO ORDERED.



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February 25, 2020
Charleston, South Carolina




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